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                                                                            Page 1
                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO. : 2:16cv14413

         TAVARES DOCHER, by and through
         JANICE DOCHER-NEELEY, his mother
         and legal guardian,

                     Plaintiffs,

         vs.

         CHRISTOPHER NEWMAN, individually,
         CLAYLAN MANGRUM, individually,
         CALVIN ROBINSON, individually, WADE
         COURTEMANCHE, individually, KEN J.
         MASCARA, as SHERIFF of ST. LUCIE
         COUNTY, Florida, JOSE ROSARIO,
         individually, and the ST. LUCIE COUNTY
         FIRE DISTRICT, an independent special
         district,

                   Defendants.
         ______________________________________/


                      DEPOSITION OF THOMAS SINCLAIR
         DATE:                   July 31st, 2017
         TIME:                   10:17 a.m.
         PLACE:                  201 SW Port St. Lucie Blvd, Suite 108
                                 Port St. Lucie, Florida 34984

         TAKEN BY:               GREGORY J. JOLLY, ESQ.

         REPORTER:               VANESSA G. ARCHER, FPR, Notary
                                 Public of the State of Florida at Large




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                                                                            Page 2
    1    APPEARANCES:

    2
         FOR PLAINTIFF:          SEARCY, DENNEY, SCAROLA,
    3                            BARNHART & SHIPLEY, P.A.
                                 2139 Palm Beach Lakes Blvd.
    4                            West Palm Beach, Florida 33409
                                 BY: ADAM S. HECHT, ESQUIRE
    5                            561-686-6300
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    6

    7    FOR DEFENDANT
         ST. LUCIE COUNTY
    8    FIRE DISTRICT:          WILSON, ELSER
                                 111 N Orange Ave, Suite 1200
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   12    FOR DEFENDANTS
         NEWMAN, MANGRUM,
   13    ROBINSON,
         COURTEMANCHE and
   14    SHERIFF:                PURDY, JOLLY, GIUFFREDA & BARRANCO, P.A.
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    1                             I-N-D-E-X

    2    July 31, 2017

    3    THOMAS SINCLAIR

    4                              DIRECT      CROSS      REDIRECT         RECROSS

    5    By Mr. Jolly                 4                     44

    6    By Mr. Hecht                           20

    7    By Mr. Newman                          43

    8                              EXHIBITS

    9                                                                  Marked

   10    Defendants' Exhibit 1
         (Audio Recording of Statement
   11    of Thomas Sinclair)
         Defendants' Exhibit 2
   12    (Transcript of Audio Recording
         of Thomas Sinclair)
   13    Defendants' Exhibit 3
         (Written Statement of Thomas Sinclair)
   14

   15    Exhibits marked at the conclusion of the deposition.

   16

   17

   18

   19

   20

   21

   22    Letter to Benjamin W. Newman, Esq.

   23    Errata Sheets (to be forwarded upon completion)

   24

   25


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                                                                            Page 4
    1    AND THEREUPON,

    2                THOMAS SINCLAIR,

    3    called as a witness on behalf of Defendants, herein, after

    4    having been first duly sworn, was examined and testified as

    5    follows:

    6                THE WITNESS:     Yes.

    7                         DIRECT EXAMINATION

    8    BY MR. JOLLY:

    9          Q     Morning, sir.     Would you state your name

   10    for the record please.

   11          A     Thomas George Sinclair.

   12          Q     Sir, I introduced myself to you off the

   13    record.    On the record my name's Greg Jolly, I'm an

   14    attorney.    I represent the Sheriff in a lawsuit

   15    filed by the family of Tavares Docher.

   16                      Have you ever given a deposition

   17    before?

   18          A     One time a long time ago.

   19          Q     Okay.    I'll go through some of the ground

   20    rules for you then.       Basically, the most important

   21    is, that since the reporter's taking down everything

   22    that you say and what I say, we all say, she's

   23    taking a transcription of that, I would just ask

   24    that you make all your answers audible.           And you did

   25    it right now and you shook your head yes, and that's


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    1    natural in normal conversation.           I may correct you
    2    if you do that during the course of the deposition.
    3    I'm not trying to be rude, I just want a clean
    4    record.     Okay?
    5           A     That's fine.
    6           Q     Also along those lines, I would just ask
    7    that you allow me to finish my question before you
    8    start your answer, then I'll extend you the same
    9    courtesy as best I can.         And again, that's just for
   10    the benefit of the transcript, just so we're not
   11    talking over each other, it can get a little choppy.
   12    Is that okay?
   13           A     Absolutely.
   14           Q     And with that, we'll get going.
   15                        Are you currently employed?
   16           A     Yes.
   17           Q     Where do you work?
   18           A     The St. Lucie County Fire District.
   19           Q     And were you employed by the St. Lucie
   20    County Fire District on May 11, 2014?
   21           A     Yes.
   22           Q     Were you working that day?
   23           A     Yes.
   24           Q     Did you have an occasion to take a call at
   25    a CVS somewhere in St. Lucie County?


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                                                                            Page 6
    1           A     Yes.
    2           Q     And I don't want to talk about the
    3    incident yet, I want to get some background
    4    information.
    5                         You took a call to CVS somewhere in
    6    St. Lucie County, correct?
    7           A     Correct.
    8           Q     After you took that call, do you remember
    9    giving an interview with a detective with the St.
   10    Lucie County Sheriff's Office?
   11           A     Vaguely.
   12           Q     What I would like to do is, I've already
   13    handed you a transcript of the statement, and what
   14    I'd like to do is, I'm going to play the recording
   15    of that interview and I'd like you to follow along
   16    in the transcript, and then I'm going to ask you
   17    some questions about it.         Okay?
   18           A     Absolutely.
   19                        (Audio being played.)
   20    BY MR. JOLLY:
   21           Q     Okay.    Now that we've listened to the
   22    audio, do you recognize any of the voices in that
   23    recording?
   24           A     Yes.
   25           Q     Can you tell me whose voices you heard on


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                                                                            Page 7
    1    that audio?
    2           A     I heard mine and a detective's.
    3           Q     Do you remember giving an interview with
    4    that detective soon after the event?
    5           A     Yes.
    6           Q     Did that audio recording accurately
    7    reflect the interview that you had with the
    8    sheriff's detective immediately after the subject
    9    incident?
   10           A     To the best of my recall.
   11           Q     Did the audio recording accurately reflect
   12    the questions that were asked and the answers that
   13    were given?
   14           A     To my knowledge.
   15           Q     As you were listening to the audio, were
   16    you following along with the transcript?
   17           A     Yes.
   18           Q     Is the transcript an accurate
   19    transcription of what was said, the questions that
   20    were asked and the answers that were given?
   21           A     Yes.
   22           Q     I now am going to ask you about the
   23    subject incident.
   24                        Can you tell me why you were called
   25    out to the scene that day?


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                                                                            Page 8
    1           A     I believe we were called for a laceration
    2    on the forehead.
    3           Q     Do you remember what time?
    4           A     I'd have to refer back to the report.
    5           Q     You can refer back to whatever you need
    6    to.
    7           A     The call was dispatched at 1830.
    8           Q     Does it say where you were dispatched to?
    9           A     Trying to find the exact address for you.
   10    301 East Prima Vista Boulevard, and it's Port St.
   11    Lucie.
   12           Q     And do you remember about what time you
   13    arrived at that location?
   14           A     1834.
   15           Q     1834 hours, so roughly 6:30 p.m.?
   16           A     Yes, four minutes after dispatch.
   17           Q     What did you observe when you arrived at
   18    301 East Prima Vista Boulevard?
   19           A     We pulled in, we saw the patient lying on
   20    the ground with several deputies on top of him and a
   21    large pool of blood around his head.
   22           Q     Do you remember exactly how many deputies
   23    were on top of Mr. Docher?
   24           A     Exact number, no.
   25           Q     Do you remember what they looked like?


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                                                                            Page 9
    1           A     At this point, no.
    2           Q     Could you tell if Mr. Docher was
    3    handcuffed at that time?
    4           A     Not when we pulled in.
    5           Q     Did you observe the deputies handcuff
    6    Mr. Docher?
    7           A     No.
    8           Q     What was Mr. Docher doing when the
    9    deputies were on top of him?
   10           A     He was basically at rest at that point.
   11           Q     Was he saying anything?
   12           A     He was non-verbal.
   13           Q     Were the deputies saying anything?
   14           A     I don't recall.
   15           Q     Did you notice if there were any civilians
   16    present when you arrived?
   17           A     There was a large crowd around the
   18    perimeter.
   19           Q     How far were the civilians from the
   20    deputies and Mr. Docher?
   21           A     I don't recall.
   22           Q     You said Mr. Docher was at rest when you
   23    arrived.     Was there ever a time when he was not at
   24    rest when you were present?
   25           A     Whenever the deputies took their weight


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                                                                         Page 10
   1    off him, he would lash out.
   2           Q     What do you mean by that, can you
   3    elaborate on lash out?
   4           A     He would arch his back, try to sit up,
   5    kick, swing his arms.        At that point he was also
   6    spitting blood.
   7           Q     Did you observe any of the deputies using
   8    force against Mr. Docher?
   9           A     Right now I do not recall.
  10           Q     In the interview you gave with sheriff's
  11    deputies, you described that Mr. Docher was
  12    extremely strong; is that right?
  13           A     Yes.
  14           Q     Why did you say that?
  15           A     When he was attempting to get up and he
  16    was arching his back, he was lifting up several
  17    deputies at one time.
  18           Q     And did you personally observe that?
  19           A     Yes.
  20           Q     And did the fact that he was extremely
  21    strong matter to you?
  22           A     Yes.
  23           Q     Why?
  24           A     Because it's a threat to us and himself.
  25           Q     Did the fact that he was extremely strong


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                                                                         Page 11
   1    affect your diagnosis of Mr. Docher at all?
   2                 MR. HECHT:     Form.
   3    BY MR. JOLLY:
   4           Q     You can answer.
   5           A     His diagnosis, no.
   6           Q     Did the fact that he was extremely strong
   7    give you any opinion as to Mr. Docher's condition?
   8           A     What do you mean, his condition?
   9           Q     Well, why he was acting the way he was
  10    acting?
  11           A     Well, we can go by that is our experience
  12    and our education, and his exhibit behavior would
  13    tend to indicate drugs or a psychiatric issue.
  14           Q     And what are you basing that off of?
  15           A     My education and experience.
  16           Q     Okay.    And we should probably get into
  17    your education and experience.
  18                       Where did you graduate high school?
  19           A     Hopewell Junction, New York, John Jay
  20    Senior High School.
  21           Q     And what did you do after high school?
  22           A     I was a volunteer firefighter for a long
  23    time, and did several different jobs before moving
  24    to Florida.
  25           Q     How about education wise after high


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                                                                         Page 12
   1    school, anything?
   2           A     I've had several firefighter outreach
   3    classes before moving to Florida.           An EMT class
   4    before moving to Florida.         I attended fire school at
   5    Central Florida Fire Academy.          I attended EMT at
   6    Valencia Community College, graduated and was
   7    licensed.     And then I attended EMT school at Indian
   8    River Community College and graduated and renewed my
   9    license.     Following that, I went to paramedic school
  10    at Indian River Community College and graduated and
  11    was licensed by the state.
  12           Q     And you're a licensed paramedic now?
  13           A     Correct.
  14           Q     In the course of your training, were you
  15    ever trained in the recognition of symptoms of drug
  16    use?
  17           A     Through paramedic school we received some
  18    training.
  19           Q     What did that training entail?
  20           A     The exact training I can't recall at this
  21    point.
  22           Q     So after you see Mr. Docher on the ground
  23    with the deputies, what happens next?
  24           A     We attempted to lift him to the stretcher.
  25           Q     Who is 'we' by the way?


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                                                                         Page 13
   1           A     The deputies and myself.
   2                       We attempted to place him on an
   3    backboard at that time, and he lashed out and
   4    attempted to kick me and was spitting blood wherever
   5    he could.
   6           Q     Was he spitting blood at someone, or just
   7    spitting blood?
   8           A     He was just spitting blood.
   9           Q     Were you called out to the scene alone, or
  10    was somebody with you?
  11           A     I was with paramedic Jose Rosario.
  12           Q     And is there some kind of a pecking order
  13    with Jose Rosario?
  14                 MR. HECHT:     Form.
  15                 THE WITNESS:      We were a team that day.
  16           And the way it works is we alternate calls,
  17           he's lead medic on one call, I'm lead medic on
  18           the next call.
  19    BY MR. JOLLY:
  20           Q     Who is lead medic on this call?
  21           A     This was his call.
  22           Q     So what happens after you try to put
  23    Mr. Docher on the backboard?
  24           A     We had decided that he was too violent and
  25    it was unsafe to move him.


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                                                                         Page 14
   1           Q     I'm going to stop you there.          Who decided
   2    that?
   3           A     It was collaboration between Jose and
   4    myself, but it was ultimately his decision.
   5           Q     Okay, go on.
   6           A     So we decided to sedate him per our
   7    protocols.
   8           Q     Did Mr. Docher kick you during this
   9    incident?
  10           A     If I remember, he attempted to.          I don't
  11    remember if he actually made contact or not.
  12           Q     Did he kick Mr. Rosario?
  13           A     I don't recall.
  14           Q     So after the decision is made to sedate
  15    Mr. Docher, what happens?
  16           A     We prepare the drugs for sedation, Jose
  17    administered it.       And then as soon as he was
  18    disposed of the sharps for safety, we were going to
  19    move him over to the stretcher.
  20           Q     Where were you when Mr. Rosario
  21    administered the sedative?
  22           A     I believe I was in the ambulance.
  23           Q     So did you observe Mr. Rosario inject
  24    Mr. Docher?
  25           A     No.


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                                                                         Page 15
   1           Q     Do you remember the relative sizes of the
   2    parties; in other words, how big were the deputies
   3    compared to Mr. Docher?
   4           A     I recall there being some larger deputies
   5    there and some smaller deputies, I mean, in
   6    comparison to me.
   7           Q     And how big are you, sir?         I'm just trying
   8    to get an idea for the record.
   9           A     I'm 5'9.     I was 240 pounds at that time.
  10           Q     And you said some of the deputies were
  11    larger than you?
  12           A     Yes.
  13           Q     Has your weight changed at all since the
  14    incident?
  15           A     Unfortunately.
  16           Q     Has it increased?
  17           A     Yes.
  18           Q     What was your weight around the time of
  19    the incident?
  20           A     240.
  21           Q     So the deputies involved were over 240
  22    pounds, some of them?
  23           A     That would purely be a guess.
  24           Q     At least 240, I guess.
  25                        And you said Mr. Docher was able to


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                                                                         Page 16
   1    push up with the deputies on his back?
   2           A     At the beginning of the call, he was on
   3    his back and he was able to arch his back and lift
   4    them.
   5           Q     While they were putting at least some of
   6    their weight on him?
   7           A     Yes.
   8           Q     So what happens after Mr. Docher is
   9    injected with this sedative?
  10           A     If I recall correctly, the deputies
  11    remained on top of him for a couple of minutes while
  12    we prepared to move him, then we were able to lift
  13    him up without incident onto the stretcher.
  14           Q     What happened after you were able to lift
  15    him?
  16           A     Once he was on the stretcher and secured,
  17    it was reassessed, and at that time he was found to
  18    not be breathing and not have a pulse.
  19           Q     Did you notice anything about his
  20    breathing prior to him being lifted onto the
  21    stretcher?
  22           A     No.
  23           Q     Were his vitals checked before he was
  24    lifted onto the stretcher?
  25           A     No, we were unable to because of his


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                                                                         Page 17
   1    combativeness.
   2           Q     Was Mr. Docher saying anything while he
   3    was being combative?
   4           A     He was non-verbal throughout the entire
   5    event.
   6           Q     Was he making any noises?
   7           A     I don't recall.
   8           Q     In addition to the audio statement, do you
   9    remember if you provided the sheriff with a written
  10    statement?
  11           A     We were asked to write an e-mail.
  12           Q     An e-mail?
  13           A     Yes.
  14           Q     Okay.    I'm going to show you this, I'll
  15    have you take a look at it.
  16                        If you could just take a look at
  17    that, and then I'm going to ask you some questions
  18    about it.
  19                        First of all, I'll have you look at
  20    the signature at the bottom.          Do you recognize that
  21    signature?
  22           A     Yes, that would be mine.
  23           Q     How about the handwriting, do you
  24    recognize the handwriting?
  25           A     Yes, that is also, unfortunately, mine.


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   1           Q     Why do you say unfortunately?
   2           A     Because it's sloppy.
   3           Q     Do you remember providing this written
   4    statement to the sheriff's office after the
   5    incident?
   6           A     Vaguely.
   7           Q     Do you have any reason to believe that
   8    this statement is not accurate?
   9           A     No.
  10           Q     Did anyone tell you what to say before you
  11    wrote this statement out?
  12           A     No.
  13           Q     Were you truthful?
  14           A     Yes.
  15           Q     And it looks like it says:         Under
  16    penalties of perjury, I declare that I've read the
  17    foregoing document and the facts stated in it are
  18    true.      Correct?
  19           A     Correct.
  20           Q     What happened after Mr. Docher was put
  21    into the ambulance?
  22           A     We followed our ACLS protocols.
  23           Q     What does that mean?        Can you break that
  24    down, that acronym?
  25           A     Our Advanced Life Support Protocols per


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   1    the American Heart Association.
   2                         And he was rendered appropriate
   3    treatments for his condition.
   4           Q     And how was he treated?
   5           A     Again, I'm going to have to refer back to
   6    the report.      I know CPR was initiated.         His airway
   7    was captured, an IV was started.           I believe he was
   8    defibrillated one time.         At that point, he came back
   9    into a cardiac rhythm, and then he was converted
  10    into a normal sinus rhythm.
  11           Q     Did you know any of the deputies that were
  12    on scene?
  13           A     No, not personally.
  14           Q     How about professionally?
  15           A     No.
  16           Q     You weren't friends with any of them?
  17           A     No.
  18           Q     I know I'm going to get an objection to
  19    this question, but what do you think happened to
  20    Mr. Docher?
  21                 MR. HECHT:     Form.
  22                 THE WITNESS:      I can't speculate on that.
  23    BY MR. JOLLY:
  24           Q     Okay.    Correct me if I'm wrong, but you
  25    testified that you did not observe any of the


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   1    deputies using force against Mr. Docher?
   2                 MR. HECHT:     Form.
   3                 THE WITNESS:      Not that I recall.
   4    BY MR. JOLLY:
   5           Q     I don't have anymore questions at this
   6    time, sir.     I'm sure Adam's going to have some
   7    questions for you.        Thank you.
   8                          CROSS-EXAMINATION
   9    BY MR. HECHT:
  10           Q     Mr. Sinclair, I just want to go over your
  11    background.
  12                       Where did you graduate EMT school?
  13           A     I graduated from Valencia Community
  14    College and Indian River Community College.
  15           Q     What year did you get your EMT
  16    certification?
  17           A     From which school?
  18           Q     Valencia.
  19           A     Valencia, that would have been about 1996.
  20           Q     And then after getting your EMT
  21    certification from Valencia in 1996, when is it that
  22    you went to Indian River State College to get
  23    another certification?
  24           A     Approximately 2002.
  25           Q     And what was that certification for in


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   1    2002 at Indian River State College?
   2           A     Emergency medical technician.
   3           Q     Why is that you went to two separate
   4    schools to get the same certification?
   5           A     Because after I graduated Valencia, I went
   6    to fire school and I did not use my license, so as a
   7    result it expired.        So once we moved from Orlando to
   8    Port St. Lucie, I had to take the class again.
   9           Q     And when is it that you became certified
  10    as a paramedic?
  11           A     That would have been 2008.
  12           Q     What did you do between 1996 and 2002?
  13           A     I was a tow-truck operator while my wife
  14    went to nursing school.
  15           Q     Why is it that you obtained your EMT
  16    certification in 1996 and then worked as a tow-truck
  17    operator until 2002?
  18           A     It was to let my wife complete nursing
  19    school.
  20           Q     Did you make more money as a tow-truck
  21    operator than you would as an EMT?
  22           A     Yes.
  23           Q     And that was the reason?
  24           A     Yes.
  25           Q     And then you moved to Port St. Lucie, and


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   1    since you weren't working as an EMT, you had to get
   2    recertified, correct?
   3           A     Correct.
   4           Q     From 2002 to 2008, where were you working?
   5           A     From 2002 to 2006, I was not working, I
   6    was going to school.
   7           Q     What were you going to school for?
   8           A     That was when I was going to EMT school.
   9    The dates I could be fuzzy on.
  10           Q     So is it correct that it took you four
  11    years to get your EMT certification at Indian River
  12    Community College?
  13           A     No.   Let's see.     If I work backwards, I
  14    was hired in '06.       I was with Jensen Beach for a
  15    year while I went to school.          So it actually would
  16    have been about 2005 that I got my EMT with Indian
  17    River.
  18           Q     So let's work backwards.         Currently you're
  19    employed by the St. Lucie County Fire District,
  20    correct?
  21           A     Correct.
  22           Q     How long have you been employed by them
  23    for?
  24           A     My start date was January 6th, 2006.
  25    January 9th, 2006, sorry.


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   1           Q     So from 2006 to the present time, you've
   2    been with the St. Lucie County Fire District,
   3    correct?
   4           A     Correct.
   5           Q     And before 2006, tell me where you worked?
   6           A     Let's see.     From 2006 to 2004, that's
   7    while I was -- I left my job in Orlando late 2004,
   8    because it was sometime after Frances and Jeanne.
   9           Q     So from 2004 to 2006, you were at EMT
  10    school at Indian River State College?
  11           A     Yes.
  12           Q     And were you working anywhere during that
  13    period of time that you were getting your license at
  14    Indian River State College?
  15           A     No.
  16           Q     Before 2004, where did you work?
  17           A     Star Towing at Central Florida.
  18           Q     Where did you start working at Star Towing
  19    and when did you finish?
  20           A     Approximately 1996.       And I left Star
  21    Towing late 2004.
  22           Q     After high school, what did you do?
  23           A     I had various jobs until we moved to
  24    Florida.     I was a volunteer firefighter since the
  25    age of 16.


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                                                                         Page 24
   1           Q     So while you've been at St. Lucie County
   2    Fire District, is it true that you worked for two
   3    years as an EMT, and then once you obtained your
   4    paramedic certification you worked as a paramedic?
   5           A     I was an EMT for three years before I was
   6    released to function as a paramedic.            During that
   7    time, I went to school and through my
   8    apprenticeship.
   9           Q     According to this interview that you gave
  10    with a Detective Chapman, you said that you were
  11    responding to a call for a laceration, correct?
  12           A     Correct.
  13           Q     Is a laceration the same thing as trauma?
  14           A     Laceration is a trauma.        Trauma's a vague
  15    term.
  16           Q     So is it correct to say that you were
  17    responding to a call for trauma?
  18           A     Yes.
  19           Q     And you said in your statement that when
  20    you responded, Tavares Docher was in two pairs of
  21    handcuffs, correct?
  22           A     If that's what the statement says.           I
  23    don't recall.
  24           Q     Where were those handcuffs placed on him?
  25           A     I can't recall that.


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   1           Q     Was one pair on his hands and one on his
   2    legs?
   3           A     That I can't recall.
   4           Q     Have you seen individuals, during your
   5    time as an EMT or paramedic, wearing more than one
   6    pair of handcuffs on their hands?
   7           A     I can't recall every time I've seen
   8    somebody in handcuffs.
   9           Q     Do you know why it is sheriff's officers
  10    would have an individual in two pairs of handcuffs
  11    on their hands?
  12                 MR. JOLLY:     Objection, form.
  13                 MR. NEWMAN:     Join.
  14                 THE WITNESS:      That would be a question for
  15           a deputy to answer.
  16    BY MR. HECHT:
  17           Q     So you don't know where the handcuffs
  18    were, correct?
  19           A     No.
  20           Q     In the statement you wrote, you said that
  21    the patient was in handcuffs.          So would you agree
  22    with me that when you arrived Mr. Docher was in
  23    handcuffs?
  24           A     Yes.
  25           Q     You also stated, on attempting to move the


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   1    patient, he again became extremely combative.               The
   2    patient was able to fight off four or five deputies
   3    and rescue while cuffed.
   4                        Would you agree that Mr. Docher, from
   5    the time that you arrived until the time that you
   6    arrived at the hospital, was wearing handcuffs?
   7                 MR. JOLLY:     Objection, form.
   8                 MR. NEWMAN:     Join.
   9                 THE WITNESS:      He was wearing handcuffs
  10           until we had to perform the ACLS procedures.
  11    BY MR. HECHT:
  12           Q     And where were those procedures performed?
  13           A     In the back of the ambulance.
  14           Q     So was Mr. Docher uncuffed in the back of
  15    the ambulance?
  16           A     Yes.   Once we realized that he was in
  17    cardiac arrest, we requested that the deputies
  18    remove the cuffs.
  19           Q     Which deputy did you ask to take off the
  20    handcuffs?
  21           A     I don't recall.
  22           Q     Do you know what the deputy looked like?
  23           A     No.
  24           Q     Do you remember just sitting here what any
  25    of the deputies on scene looked like?


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   1           A     No, I wouldn't.      I've dealt with hundreds
   2    of deputies and hundreds of patients since then.
   3           Q     Do you know who Deputy Mangrum is?
   4           A     No.
   5           Q     Do you know who Deputy Robertson is?
   6           A     No.
   7           Q     Do you know who Deputy Newman is?
   8           A     No.
   9           Q     So your testimony is, that once you got
  10    Tavares Docher in the ambulance, you requested that
  11    one of the officers or deputies who was in the back
  12    of the ambulance take off the handcuffs?
  13           A     Yes.
  14           Q     And did so?
  15           A     Yes.
  16           Q     And after the handcuffs were taken off,
  17    were there any other restraints that were placed on
  18    Mr. Docher from the time that he was placed in the
  19    ambulance at the CVS up until the time that you
  20    arrived at the hospital?
  21           A     No, there was no need.
  22           Q     Why not?
  23           A     Because he was in cardiac arrest at that
  24    point.
  25           Q     In your statement that you gave to


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   1    Detective Chapman, you stated they said he was, you
   2    know, he was a real fighter.
   3                        You don't actually have first-hand
   4    knowledge other than what the officer said to you,
   5    that Tavares Docher, prior to your arrival, was
   6    being combative, correct?
   7                 MR. JOLLY:     Objection, form.
   8                 THE WITNESS:      I have no idea what happened
   9           outside what they said before we got there.
  10    BY MR. HECHT:
  11           Q     When you arrived on scene, did you speak
  12    to any of the deputies on scene and ask them what
  13    happened prior to your arrival?
  14           A     I don't believe I did, no.
  15           Q     When you arrived on scene, did you speak
  16    to any of the deputies and ask if Tavares Docher was
  17    having any sort of difficulty breathing prior to
  18    your arrival?
  19           A     I don't recall asking anything like that.
  20           Q     And when Mr. Docher was placed on the
  21    stretcher, he was still in handcuffs, correct?
  22           A     Correct.
  23           Q     And when he was placed on the backboard,
  24    he was still in handcuffs?
  25           A     Yes.


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   1           Q     How much did you weigh again, on the date
   2    of this incident?
   3           A     240.
   4           Q     And how much do you weigh now?
   5           A     278.
   6           Q     And you said you're 5'9?
   7           A     Yes.
   8           Q     And you said that Mr. Docher at the time
   9    of this incident was approximately your height?
  10           A     It seemed like it because he fit the
  11    stretcher.
  12           Q     And in your statement you said you don't
  13    smell things very well, correct?
  14           A     No, I don't.
  15           Q     Do you have some sort of a medical
  16    condition?
  17           A     No.    I don't know why it's -- I can't
  18    smell some things that other people smell.
  19           Q     When you arrived on scene, you said that
  20    Tavares Docher was on the ground with the deputies
  21    on top of him, correct?
  22           A     Correct.
  23           Q     When you say on top of him, what do you
  24    mean by that?
  25           A     One knee on the ground, one knee on him,


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   1    just holding him down.
   2           Q     How many officers were holding him down?
   3           A     I would have to refer to my affidavit
   4    there and say four or five.
   5           Q     Did it appear to you that when you arrived
   6    on scene and saw these four to five deputies holding
   7    Tavares Docher down, that Mr. Docher had difficulty
   8    breathing?
   9           A     I can't answer that.
  10           Q     Is it just because you don't remember,
  11    or --
  12           A     I don't recall.
  13           Q     The four to five deputies, were they large
  14    men?
  15           A     I don't recall their exact stature.            It's
  16    a combination.
  17           Q     And when you saw these four to five
  18    deputies on top of Mr. Docher, he was in handcuffs,
  19    correct?
  20           A     Correct.
  21           Q     And handcuffs were behind his back?
  22                 MR. JOLLY:     Form.
  23                 THE WITNESS:      I can't answer that.
  24    BY MR. HECHT:
  25           Q     But you do recall there being a large pool


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   1    of blood under his head?
   2           A     Yes.
   3           Q     Did you do any sort of assessment to
   4    determine if Mr. Docher was suffering from any sort
   5    of head injury?
   6           A     I did not do the assessment.
   7           Q     Who did?
   8           A     Jose Rosario.
   9           Q     What's your date of birth, sir?
  10           A
  11           Q     On the date of this incident, were you
  12    more experienced as a paramedic than Jose Rosario?
  13           A     No, I was a junior paramedic to him.
  14           Q     He was your senior?
  15           A     Yes.
  16           Q     So he had more experience than you?
  17           A     Yes.
  18           Q     And there was a time while you were on
  19    scene that Mr. Docher became calm prior to the
  20    administration of Ativan, correct?
  21           A     He was only calm when pressure was put on
  22    him by the deputies.
  23           Q     Did you ever make a determination as to
  24    why Mr. Docher was calm when the deputies were on
  25    him versus when they were not on him?


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   1           A     That's not a knowledge I would have.
   2           Q     Do you think it had anything to do with
   3    the fact that when the officers applied pressure to
   4    him, he wasn't able to breath and, therefore, he
   5    wasn't moving?
   6                 MR. JOLLY:     Objection, form.
   7                 THE WITNESS:      That's an assumption I can't
   8           make.
   9    BY MR. HECHT:
  10           Q     So as a paramedic, it's not -- strike
  11    that.
  12                       As a paramedic, is it your job to
  13    determine if an individual is having difficulty
  14    breathing?
  15                 MR. NEWMAN:     Object to form.
  16                 THE WITNESS:      Yes.
  17    BY MR. HECHT:
  18           Q     And did you make a determination as to
  19    whether Mr. Docher, when the officers were applying
  20    pressure to his back and prior to the administration
  21    of Ativan, was having difficulty breathing?
  22                 MR. JOLLY:     Objection to form.
  23                 THE WITNESS:      I don't recall.
  24    BY MR. HECHT:
  25           Q     But you do remember that whenever they


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   1    took their weight off of him, then he was moving
   2    more than he was than when they were applying
   3    pressure to him, correct?
   4           A     He was extremely violent when they took
   5    the pressure off him and spitting blood.
   6           Q     Did it appear to you when he was spitting
   7    blood that he was having difficulty breathing?
   8           A     No.
   9           Q     He appeared to be breathing fine as he was
  10    spitting blood?
  11           A     He was actually spitting the blood, not
  12    just breathing it, he was spitting at people.
  13           Q     Did you make a determination as to why it
  14    is he was spitting blood?
  15           A     That would be a question for him.
  16           Q     Well there was a determination between you
  17    and paramedic Rosario to administer Ativan
  18    intramuscularly to him, correct?
  19           A     Correct.
  20           Q     And did you make a determination as to
  21    whether Mr. Docher was suffering any sort of
  22    respiratory distress prior to the administration of
  23    Ativan?
  24           A     That would be a question for Jose.
  25           Q     Well, isn't it correct that you and


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   1    paramedic Jose Rosario determined that the best
   2    approach would be to administer Ativan to
   3    Mr. Docher?
   4            A      Yes.
   5            Q      That was a joint decision that the two of
   6    you made?
   7            A      More or less.
   8            Q      Well, since you were involved in that
   9    decision, did you ever make a determination whether
  10    Tavares Docher was suffering respiratory distress
  11    prior to you making the determination to administer
  12    Ativan?
  13           A      The way he was lashing out, I don't
  14    believe he could have been in respiratory distress.
  15           Q      Did you do any sort of evaluation to
  16    determine whether he was suffering respiratory
  17    distress prior to the administration of Ativan?
  18           A      What do you mean, evaluation?
  19           Q      Well I'm not a paramedic so I can't answer
  20    that.       If you don't understand my question, I'll
  21    rephrase it.
  22           A      Yeah.    I really kind of don't understand
  23    the question.
  24           Q      You've been trained in the uses and
  25    purposes of Ativan, correct?


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   1           A     Correct.
   2           Q     And prior to administering Ativan, there's
   3    certain signs or symptoms that you have to look for
   4    to clue you in as to whether or not it's safe to
   5    administer Ativan on a patient, correct?
   6           A     Correct.
   7           Q     So tell me when it is that you would not
   8    administer Ativan intramuscularly to a patient?
   9           A     If Ativan's just not called for.
  10           Q     And when would Ativan not be called for?
  11           A     If he wasn't violent or if he wasn't
  12    seizing, or anything that's outside our protocols
  13    for administering Ativan.
  14           Q     When you were on scene on May 11, 2014,
  15    did you have a piece of paper or a book or a cheat
  16    sheet with you that stated what the
  17    contraindications of Ativan are?
  18           A     There's a protocol book in the truck.
  19           Q     And did you use that protocol in the truck
  20    prior to administering Ativan to Mr. Docher?
  21           A     No.
  22           Q     Sitting here right now, can you tell me
  23    what the contraindications for Ativan are?
  24           A     Not off the top of my head.
  25           Q     Well, if you're not able to do it now, how


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   1    were you able to do it on scene if you didn't look
   2    at the book with the protocols?
   3                 MR. NEWMAN:     Object to form.
   4                 THE WITNESS:      I didn't administer the dose
   5           of Ativan.
   6    BY MR. HECHT:
   7           Q     But you made a determination, along with
   8    Jose Rosario, to administer the Ativan, correct?
   9           A     Correct.
  10           Q     Well, you were on scene on May 11, 2014.
  11    Were you aware of what the contraindications for
  12    Ativan were on that day?
  13           A     Yes.
  14           Q     What were they?
  15           A     The only one I can recall is a
  16    hypersensitivity to the drug, and all it would do is
  17    cause a respiratory depression.
  18           Q     And therefore prior to administering
  19    Ativan to an individual, is it important to
  20    determine whether or not they're already suffering
  21    respiratory depression?
  22           A     That's irrelevant, because we can control
  23    the airway.
  24           Q     Did you determine whether or not
  25    Mr. Docher, prior to the administration of Ativan,


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   1    was suffering from respiratory depression?
   2           A     Not formally.
   3           Q     And when you say not formally, what does
   4    that mean?
   5           A     A person who becomes violent is normally
   6    not respiratory depressed.
   7           Q     Mr. Docher had four to five deputies with
   8    their knees holding him down on his back while
   9    handcuffed, correct?
  10                 MR. JOLLY:     Objection to form.
  11                 MR. NEWMAN:     Join.
  12                 You can answer if you understand the
  13           question.
  14                 THE WITNESS:      I think at one point he was
  15           on his back, and I can't recall his exact
  16           position, it may have changed during the call.
  17    BY MR. HECHT:
  18           Q     You just don't remember?
  19           A     Yes.
  20           Q     Have you ever administered during your
  21    career as a paramedic, Ativan to a patient?
  22           A     Yes.
  23           Q     How many times?
  24           A     That I can't recall, I've had hundreds of
  25    patients.


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   1           Q     Have you administered Ativan hundreds of
   2    times?
   3           A     That I can't answer.
   4           Q     More than once?
   5           A     Yes.
   6           Q     More than ten times?
   7           A     That would be a guess.
   8           Q     How many times in your career have you
   9    administered one single push dose of four milligrams
  10    of Ativan to a patient intramuscularly?
  11           A     I would have to say it's rare.
  12           Q     Have you ever administered four milligrams
  13    of Ativan to a patient in one single dose in your
  14    career?
  15           A     I'd have to refer back to the patient care
  16    sheets for that.
  17           Q     You just don't know off the top of your
  18    head?
  19           A     I couldn't recall.
  20           Q     According to the St. Lucie County Fire
  21    District protocols for sedation, it states:              When
  22    administering Ativan, it's to be given one milligram
  23    increments to a max of four milligrams; is that
  24    correct?
  25           A     Correct.


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                                                                         Page 39
   1           Q     So what does that mean to you, based on
   2    your training and experience as a paramedic at St.
   3    Lucie County Fire District?
   4           A     We have a discretion to use up to four
   5    milligrams at one milligram increments with no
   6    specified time between increments.
   7           Q     So based on your training and experience
   8    at the St. Lucie County Fire District, it's your
   9    understanding that you have the discretion to
  10    administer one single push dose of four milligrams
  11    of Ativan to a patient intramuscularly if needed,
  12    correct?
  13           A     If that's what we determine the patient
  14    requires, yes.
  15           Q     Why does the protocol say one milligram
  16    increments to a max of four if you're able to just
  17    give one single dose of four milligrams?
  18           A     You would have to ask the people that
  19    wrote the protocol for that.
  20           Q     Is it common knowledge at the St. Lucie
  21    County Fire District that paramedics, based on the
  22    protocols, can administer one single push dose of
  23    four milligrams of Ativan to a patient
  24    intramuscularly?
  25                 MR. NEWMAN:     Object to form.


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                                                                         Page 40
   1                 MR. JOLLY:     Join.
   2                 THE WITNESS:      I can't tell you what common
   3           knowledge is.
   4    BY MR. JOLLY:
   5           Q     Well that's how you're trained, correct?
   6           A     Correct.
   7           Q     And all paramedics are trained the same
   8    way?
   9                 MR. NEWMAN:     Object to form.
  10                 THE WITNESS:      More or less.
  11    BY MR. HECHT:
  12           Q     Well, are other paramedics told that if
  13    you're going to administer Ativan intramuscularly,
  14    you have to start with one milligram, then
  15    administer another one milligram and then administer
  16    another one milligram up to four milligrams?
  17           A     I can't tell you what other paramedics are
  18    told.
  19           Q     But you were trained that you had the
  20    discretion to administer one single dose of four
  21    milligrams of Ativan to a patient intramuscularly,
  22    correct?
  23           A     Up to four milligrams.
  24           Q     Well, that wasn't my question.          My
  25    question was, you were trained that you could


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                                                                         Page 41
   1    administer one single dose of four milligrams of
   2    Ativan to a patient intramuscularly, correct?
   3           A     Correct.
   4           Q     On the date of the incident, did you carry
   5    four-point soft restraints on your ambulance?
   6           A     Yes.
   7           Q     Have you ever used those before?
   8           A     Yes.
   9           Q     Why did you not use those with Tavares
  10    Docher?
  11           A     That's not a question I can answer.
  12           Q     Why not?
  13           A     Because I just don't know the answer to
  14    it.
  15           Q     Would you agree with me that prior to
  16    using a chemical restraint and per your protocols,
  17    you're supposed to use the four-point soft
  18    restraints?
  19                 MR. NEWMAN:     Object to form.
  20                 THE WITNESS:      I don't believe we actually
  21           have a protocol written on that.
  22    BY MR. HECHT:
  23           Q     Did you have a refrigerator on board the
  24    ambulance?
  25           A     No.


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                                                                         Page 42
   1           Q     Did the Ativan need to be refrigerated?
   2           A     Yes.
   3           Q     So where was that kept?
   4           A     It was kept in a cooler with an ice-pack.
   5           Q     And was there other medicine that was kept
   6    in that cooler?
   7           A     Just the Ativan.
   8           Q     How big was the cooler?
   9           A     That exact cooler, I can't tell you at
  10    this point.
  11           Q     And the ice-pack, how does that get inside
  12    the cooler?
  13           A     The paramedic changes it every 12 hours.
  14           Q     When you arrived on scene and prior to the
  15    administration of Ativan, was Tavares Docher
  16    suffering from metabolic disorder?
  17                 MR. NEWMAN:     Object to form.
  18                 THE WITNESS:      I don't have blood work so I
  19           can't -- all we can do is assume.
  20    BY MR. HECHT:
  21           Q     Well, I don't want you to assume, I don't
  22    want you to guess, I want to know did you evaluate
  23    or determine, prior to the administration of Ativan,
  24    whether Tavares Docher was suffering from metabolic
  25    disorder?


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                                                                         Page 43
   1           A     I didn't do the assessment, Jose Rosario
   2    did.
   3           Q     And when you arrived on scene, did Tavares
   4    Docher suffer from head trauma?
   5                 MR. JOLLY:     Object to form.
   6                 MR. NEWMAN:     Join.
   7    BY MR. HECHT:
   8           Q     Apart from the laceration on the forehead?
   9           A     We didn't get a chance to -- he wouldn't
  10    let us assess him.
  11           Q     So you do not know if, when you arrived on
  12    scene, Tavares Docher was suffering from head
  13    trauma, correct?
  14           A     Outside the laceration and the blood in
  15    the mouth and nose, I didn't assess that.
  16           Q     I don't have any other questions.           Thanks.
  17                 MR. JOLLY:     Ben?
  18                 MR. NEWMAN:     I just have one or two
  19           followups.
  20                          CROSS-EXAMINATION
  21           Q     Mr. Sinclair, you were asked about when
  22    Ativan was given, which I understand you didn't give
  23    to the patient until he was observed to be in
  24    asystole.     Do you recall how much time that was
  25    between the administration of the Ativan when he was


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                                                                         Page 44
   1    observed to be in asystole?
   2           A     That would only be a guess on my part at
   3    this point.
   4           Q     All right, I don't want you to guess.
   5                         Do you think it was less than three
   6    minutes?
   7           A     Probably close to about that.          Again,
   8    that's just guessing.
   9           Q     All right, sir, thank you, I don't have
  10    any other questions.
  11                         REDIRECT EXAMINATION
  12    BY MR. JOLLY:
  13           Q     When you go to a scene and a patient is
  14    being, as you described, violent and combative, are
  15    you able to treat the patient?
  16           A     Not safely.
  17           Q     Do you have to wait until the patient is
  18    either restrained or sedated before you can render
  19    any kind of treatment?
  20           A     Yes.
  21           Q     Okay.    You testified that, at least in
  22    your mind, it's rare to deliver one single dose of
  23    four milligrams of Ativan, correct?
  24           A     Just based on my limited experience.
  25           Q     Why would a paramedic administer one dose


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                                                                         Page 45
   1    of four milligrams of Ativan?
   2           A     If he believes that's what the patient
   3    requires.
   4           Q     And why would a patient require that?
   5           A     A patient with a seizure history.            A
   6    patient that's extremely combative and a danger to
   7    himself and other people.
   8           Q     While you were there, did you observe or
   9    have any reason to believe that Mr. Docher -- what
  10    was the term you used for seizures?            You said
  11    something about you used four milligrams in
  12    situations when a patient had something with
  13    seizures?
  14           A     A history.
  15           Q     Did you have any reason to believe that
  16    Mr. Docher had a history of seizures?
  17           A     We had absolutely no knowledge of his
  18    history.
  19                 MR. HECHT:     Form.
  20    BY MR. JOLLY:
  21           Q     That's all the questions I have.
  22    Mr. Hecht might have some more questions for you.
  23                 MR. HECHT:     I don't have any questions.
  24                 MR. JOLLY:     Sir, you have the right to
  25           read or waive.


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   1                 MR. NEWMAN:     We're going to read the
   2           transcript.
   3              (Deposition concluded at 11:20 a.m.)
   4
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                                                                         Page 47
   1    STATE OF FLORIDA    )
                            :       SS
   2    COUNTY OF ST. LUCIE )

   3

   4                        CERTIFICATE OF OATH

   5                I, VANESSA G. ARCHER, Registered Professional

   6    Reporter, a Notary Public of the State of Florida at Large,

   7    authorized to administer oaths on this 31st day of July,

   8    2017, at 10:17 a.m., THOMAS SINCLAIR personally appeared

   9    before me and took an oath for the purpose of giving

  10    testimony in the matter of:        TAVARES DOCHER v. CHRISTOPHER

  11    NEWMAN, ET AL.

  12

  13                                          ___________________________
                                              VANESSA G. ARCHER, FPR
  14                                          My Commission Expires:
                                              October 5, 2019
  15

  16

  17

  18    PERSONALLY KNOWN --
        OR PRODUCED IDENTIFICATION X
  19    TYPE OF IDENTIFICATION PRODUCED: FL/DL

  20

  21

  22

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                                                                         Page 48
   1    STATE OF FLORIDA      )
                              :   SS
   2    COUNTY OF MARTIN      )

   3

   4                     CERTIFICATE OF REPORTER

   5                I, VANESSA G. ARCHER, Registered Professional

   6    Reporter, a Machine Shorthand Reporter and Notary Public of

   7    the State of Florida at Large, certify that the foregoing

   8    deposition of THOMAS SINCLAIR was stenographically reported

   9    by me and is a true and accurate transcription of said

  10    deposition of THOMAS SINCLAIR; that a review of the

  11    transcript was requested.

  12

  13                I certify further I am neither attorney nor

  14    counsel for, nor related to, nor employed by any of the

  15    parties to the action in which the deposition is taken and,

  16    further, that I am not a relative or an employee of any

  17    attorney or counsel employed in this case, nor am I

  18    financially interested in the outcome of this action.

  19                DATED this 1st day of August, 2017.

  20

  21                                             ________________________
                                                 VANESSA G. ARCHER, FPR
  22

  23

  24

  25


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   1                            ERRATA SHEET
   2    In Re:    Tavares Docher v. Christopher Newman, Et Al
                          Case No: 2:16cv14413
   3                            7/31/17
   4     DO NOT WRITE ON TRANSCRIPT - - ENTER CHANGES HERE:
   5    Page: ___________ Line: _____________
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   6    ____________________________________________________________
        Should read: _______________________________________________
   7    Reason for Change: _________________________________________
   8    Page: ___________ Line: _____________
        Now reads:
   9    ____________________________________________________________
        Should read: _______________________________________________
  10    Reason for Change: _________________________________________
  11    Page: ___________ Line: _____________
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  12    ____________________________________________________________
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  13    Reason for Change: _________________________________________
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  16    Reason for Change: _________________________________________
  17    Page: ___________ Line: _____________
        Now reads:
  18    ____________________________________________________________
        Should read: _______________________________________________
  19    Reason for Change: _________________________________________
  20
                  Under penalties of perjury, I declare that I have
  21    read my foregoing transcript and, together with any changes
        made above, the facts stated herein are true.
  22
  23
        __________________           ____________________________________
  24    DATE                          THOMAS SINCLAIR
  25


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   1                            ERRATA SHEET
   2    In Re:    Tavares Docher v. Christopher Newman, Et Al
                          Case No: 2:16cv14413
   3                            7/31/17
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   9    ____________________________________________________________
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  10    Reason for Change: _________________________________________
  11    Page: ___________ Line: _____________
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  12    ____________________________________________________________
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  13    Reason for Change: _________________________________________
  14    Page: ___________ Line: _____________
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  15    ____________________________________________________________
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  16    Reason for Change: _________________________________________
  17    Page: ___________ Line: _____________
        Now reads:
  18    ____________________________________________________________
        Should read: _______________________________________________
  19    Reason for Change: _________________________________________
  20
                  Under penalties of perjury, I declare that I have
  21    read my foregoing transcript and, together with any changes
        made above, the facts stated herein are true.
  22
  23
        __________________           ____________________________________
  24    DATE                          THOMAS SINCLAIR
  25


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   1

   2

   3    August 1st, 2017

   4    Wilson, Elser
        111 N Orange Avenue, Suite 1200
   5    Orlando, FL 32801

   6    ATTEN.: Benjamin W. Newman, Esq.

   7    RE:   Tavares Docher v. Christopher Newman, Et al.

   8    Dear Mr. Newman,

   9    Enclosed please find the original signature page for the
        above-described deposition along with an errata sheet for
  10    any corrections.

  11    As per our conversation you will take care of all aspects
        regarding reading and signing of Thomas Sinclair's
  12    deposition. It is my understanding you will furnish the
        deponent with a copy to read. Enclosed is an errata sheet,
  13    pages 49 & 50 for any changes or corrections. And please
        have Thomas Sinclair execute the original signature page at
  14    Pages 49 and/or 50 after completion of the reading.

  15    Please mail the original executed signature page and errata
        sheets to Gregory J. Jolly, Esq., along with a copy for Adam
  16    Hecht, Esq. for his certified copy, so that they may put in
        their respective copies of the deposition. Please retain a
  17    copy for your certified copy.

  18    If the witness has not read and signed the deposition by the
        close of business on September 3rd, 2017, the deposition may
  19    be filed without the witness' signature.

  20    If you have any questions, please do not hesitate to call
        our office.
  21
        Sincerely yours,
  22
        Vanessa Archer
  23
        cc:   Gregory Jolly, Esq.
  24          Adam Hecht, Esq.

  25


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